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                           1   CRAIG A. PINEDO (Cal. Bar No. 191337)
                               Email: cpinedo@pinedolaw.com
                           2   PINEDOLAW
                               275 Battery Street, Suite 200
                           3   San Francisco, CA 94111
                               Telephone:     415-693-9155
                           4   Fax No.:       415-524-7564

                           5   Attorneys for Defendant SIMON BARBER

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                           8                                UNITED STATES DISTRICT COURT
                           9                          NORTHERN DISTRICT OF CALIFORNIA
                          10                                     SAN JOSE DIVISION
                          11

                          12
                               PETE MORICI, an individual,                Case No. 14-CV-00087-EJD
                          13
                                               Plaintiff,                 STIPULATION EXTENDING TIME TO
                          14                                              RESPOND TO FIRST AMENDED
                                     v.                                   COMPLAINT
                          15
                               HASHFAST TECHNOLOGIES LLC, a
                          16   California limited liability company,
                               HASHFAST LLC, a Delaware limited
                          17   liability company, SIMON BARBER, an
                               individual, and EDUARDO deCASTRO,
                          18   an individual,
                          19                   Defendants.
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    PINEDOLAW
  425 California Street
       19th Floor
San Francisco, CA 94104
     415-693-9155
                                                    STIPULATION EXTENDING TIME TO RESPOND TO FAC
                                Case 5:14-cv-00087-EJD Document 60 Filed 03/27/15 Page 2 of 3



                           1          Pursuant to L.R. 6-1(a), plaintiff Peter Morici (“plaintiff”) and defendant Simon Barber

                           2   (“Barber”), by and through their respective counsel of record, stipulate as follows:

                           3          WHEREAS, on March 16, 2015, plaintiff filed a First Amended Complaint (FAC)

                           4   against defendants, including Barber (Dkt. 59);

                           5          WHEREAS, under Fed. R. Civ. P. 15(a)(3), Barber’s deadline to respond to the FAC

                           6   would be March 30, 2015;

                           7          WHEREAS, Barber’s counsel will be on a pre-paid family vacation the week of March

                           8   30, 2015;

                           9          WHEREAS, at Barber’s request, plaintiff has agreed to extend the time for Barber to file

                          10   his response to the FAC to and including April 10, 2015.

                          11          IT IS STIPULATED AND AGREED that Barber may file his response to the FAC on

                          12   April 10, 2015.

                          13          SO STIPULATED.

                          14   Dated: March 27, 2015                              PINEDOLAW
                          15

                          16                                                                 /s/ Craig A. Pinedo
                                                                                             CRAIG A. PINEDO
                          17
                                                                                  Attorneys for Defendant SIMON BARBER
                          18
                               Dated: March 27, 2015                              FOCAL PLLC
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                                                                                            /s/ Venkat Balasubramani
                          21                                                              VENKAT BALASUBRAMANI
                          22                                                      Attorneys for Plaintiff PETE MORICI
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    PINEDOLAW
  425 California Street
       19th Floor
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San Francisco, CA 94104
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                           1                                           CERTIFICATION

                           2          I, Craig A. Pinedo, am the ECF User whose identification and password are being used

                           3   to file this Stipulation Extending Time To Respond to First Amended Complaint. In

                           4   compliance with General Order 45.X.B., I hereby attest that Venkat Balasubramani has

                           5   concurred in this filing.

                           6          Executed on March 27, 2015, at San Francisco, California.

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                           8                                                   /s/ Craig A. Pinedo

                           9                                                  Attorneys for Defendant
                                                                                 SIMON BARBER
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